                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

JOHN ANTHONY GENTRY,                     )
                                         )
              Plaintiff                  )
                                         )       No. 3:16-2617
v.                                       )       Judge Trauger/Brown
                                         )       Jury Demand
THE HONORABLE JUDGE                      )
JOE H. THOMPSON,                         )
                                         )
              Defendant                  )

TO:     THE HONORABLE ALETA A. TRAUGER

                           REPORT AND RECOMMENDATION1

              For   the   reasons   stated   below,   the   Magistrate    Judge

recommends that the Defendant’s motion to dismiss (Docket Entry 11)

be granted and this case be dismissed as the court lacks jurisdiction

or dismissed with prejudice if the court has jurisdiction.

                                    BACKGROUND

              The Plaintiff filed his complaint against Circuit Court

Judge Joe H. Thompson on October 3, 2016, and paid the requisite

filing fee. Subsequently, he amended his complaint on October 19, 2016

(Docket Entry 6). The 38-page amended complaint is therefore the

operative complaint in this matter. Counsel for Defendant filed a

motion to dismiss for failure to state a claim on November 14, 2016

(Docket Entry 11) in lieu of an answer. The motion was supported by

a memorandum of law (Docket Entry 12). The Plaintiff filed a response




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      The Magistrate Judge has read the Plaintiff’s response and
would note as an initial matter the Plaintiff is correct that a
magistrate judge may only make a report and recommendation to the
district judge, who will then give such report a de novo review
That is exactly what was ordered in this case. See Docket Entry 3.



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on November 28, 2016 (Docket Entry 17). There was no reply and the

matter is ready for a report and recommendation.

           The Plaintiff’s amended complaint cites in considerable

detail his view of the proceedings in his divorce case before the

Defendant. He alleges that the Defendant violated Title 42 U.S.C. §

1983 by ruling against him without allowing him to be heard or to

present evidence and by being biased. He alleges that Defendant’s

actions violated his right of due process and were outside the

jurisdiction of the Defendant in his capacity as judge (Docket Entry

6, par. 13).

           In his factual statement, the Plaintiff alleges a number of

violations he contends that occurred in a September 15, 2015, hearing

(page ID 55-66). On page ID 61 the Plaintiff refers to a July 1, 2016

hearing in two places. It appears that this is a typographical error

and he is actually referring to the July 1, 2015, hearing.

           The Plaintiff next alleges violations that occurred during

what appears to be a final hearing in his divorce case on May 2 and

3, 2016 (page ID 66-68).

           The Plaintiff then backtracks to a February 9, 2016, hearing

(page ID 68-80). In these pleadings the Plaintiff again complains that

the Defendant failed to read his pleadings or to allow him to argue

his motion. He further alleges that the court granted all of the

motions by his wife without allowing him to be heard. He further

alleges   that   although   the   Defendant   stated   that   he   read   the

Plaintiff’s motions and responses, he clearly did not. He contends in

that in this hearing the Defendant was biased against him and should

have disqualified himself.

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           It appears that the actual final hearing in the matter

occurred on May 3, 2016 (page ID 80-81). At this hearing he contends

that the Defendant showed his bias and his efforts to protect the wife

from criminal conduct by stating that if the Plaintiff thought his

wife was attempting to subordinate perjury he should take it up with

the district attorney. He contends that this violated his due process

right to be heard.

           The Plaintiff then again backtracks to alleged violations

occurring at an October 27, 2015, hearing (page ID 81-84). The hearing

on that date appears to involve the discussion of the Plaintiff’s

motion to compel health insurance and life insurance information from

his wife and his motion for a Rule 9 interlocutory appeal. From the

transcript pages cited by the Plaintiff it appears that he filed a

notice of a hearing, which because of the court clerk’s error, was not

listed on the docket. Because of this the court did not hear the

motion that day. The Plaintiff contends that this demonstrates the

trial court’s previous decision to disregard his statements and

reinforces the Plaintiff’s contentions that the trial court was biased

and held animosity toward him by both refusing to hear him and by

denying him permission to take an interlocutory appeal.




                            LEGAL DISCUSSION

                           Standard of Review

           The Sixth Circuit has recently held that motions to dismiss

on the pleadings under Fed. R. Civ. P. 12(c) are reviewed de novo

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Tucker v. Middleburg-Legacy Place, 539 F.3d 545, 549 (6th Cir. 2008).

The standard of review for a Rule 12(c) motion is the same as for a

motion under Rule 12(b)(6) for failure to state a claim upon which

relief can be granted. Ziegler v. IBP Hog Market, Inc., 249 F.3d 509,

511-12 (6th Cir. 2001) (citing Mixon v. Ohio, 193 F.3d 389, 399-400 (6th

Cir. 1999)).

           “For purposes of a motion for judgment on the pleadings, all

well-pleaded material allegations of the pleadings of the opposing

party must be taken as true, and the motion may be granted only if the

moving party is nevertheless clearly entitled to judgment.” JP Morgan

Chase Bank, N.A. v. Winget, 510 F.3d 577, 581 (6th Cir. 2007). However,

a legal conclusion couched as a factual allegation need not be

accepted as true on a motion to dismiss, nor are recitations of the

elements of a cause of action sufficient. Hensley Mfg. v. ProPride,

Inc., 579 F.3d 603, 609 (6th Cir. 2009).

             The Rooker-Feldman Doctrine Bars this Court
          From Reviewing the Plaintiff’s Claim for Relief

           The Defendant’s first argument is that this Court lacks

jurisdiction under the Rooker-Feldman Doctrine, which stands for the

proposition that lower federal courts do not have jurisdiction to

review a case litigated and decided in state court. Only the United

States Supreme Court has jurisdiction to correct state court judgment.

Rooker v. Fidelity Trust Company, 263 U.S. 413, 415-16 (1923);

District of Columbia v. Feldman, 460 U.S. 462, 476 (1983). As the

Sixth Circuit has noted in looking to the Rooker-Feldman Doctrine a

three-part inquiry may be used. First, the court determines whether

the federal claim is “inextricably intertwined with the claim asserted


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in the prior state court proceedings;” second, whether the federal

claim is a general challenge to the constitutionality of the state law

applied in the state action; and thirdly, whether the complaint deals

with     a   specific   grievance   that   the   law   was   invalidly,   even

unconstitutionally, applied to Plaintiff’s particular case. Hutchinson

v. Lauderdale County, 326 F.3d 747, 755-56 (6th Cir. 2013). In this

case as the Defendant correctly points out, the actions the Plaintiff

complains of all took place in a divorce case in state court and the

Plaintiff’s request for relief would challenge the correctness of the

decisions in that case.

              The Plaintiff in his prayer for relief (page ID 84, par. 3)

specifically asks for       all judgments issued and rendered by the

defendant in the Circuit Court for Sumner County, Case No. 2:014-CV-

393, with the exception of the single order declaring the parties’

divorce be made null and void. There cannot be a clearer statement

that the Plaintiff is attempting to invalidate the state court

proceedings, with the one exception of the divorce itself. This court

therefore lacks jurisdiction to review the Plaintiff’s constitutional

claims under the Rooker-Feldman Doctrine. If the Plaintiff believed

that his rights were violated during the divorce proceedings his

remedy would be appeals through the state appellate court, and if

necessary, a petition for certiorari to the United States Supreme

Court.

              The Magistrate Judge has considered the Plaintiff’s argument

that the Rooker-Feldman Doctrine does not apply and has read the case

he cites--Kircher v. City of Ypsilanti, 458 F.Supp.2d 439 (D.C. E.D.



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(Mich.) 2006)2. However, for the reasons            cited above, the Plaintiff

is attacking the state court proceedings and the decision of a federal

district court cannot supplant a ruling of either the Sixth Circuit

or the Supreme Court. To hold otherwise would allow any party in a

state court proceeding who loses on a motion to come to federal court

to have the federal district court review the matter even though the

state court proceeding is not final. Such a ruling would result in

absolute chaos.

                        Judge Thompson is Entitled to
                         Absolute Judicial Immunity

           With   all    due   respect   to   the   Plaintiff’s   arguments   in

opposition, the Defendant has correctly stated the law on this issue.

As the Supreme Court stated in Mireles v. Waco, 502 U.S. 9 (1991)3

judicial immunity is an immunity from suit, not just from ultimate

assessment of damages, and judicial immunity is not overcome by

allegations of bad faith or malice, the existence which ordinarily

would cannot be resolved without engaging in discovery and eventually

trial. Immunity applies even when the judge is accused of acting

maliciously or corruptly and allegations of malice are insufficient

to overcome qualified immunity. Mireles at 10. In the Mireles case it

was alleged that the judge had ordered police officers to bring an

attorney into court and to use excessive force. The direction to use

excessive force would not be a function normally performed by a judge,



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       This case while not applying Rooker-Feldman squarely holds the
Judge was entitled to absolute immunity for his actions.
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      The Defendant incorrectly cites this case at page ID 96 of his
memorandum as 205 U.S.

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however, the Court noted if only the particular act in question were

to be scrutinized, then any mistake of a judge in excess of his

authority would become a nonjudicial act because an improper or

erroneous act cannot be said to be normally performed by a judge. If

judicial immunity means anything, it means that a judge will not be

deprived of immunity because the action he took was in error or were

in excess of his authority. The Court went on to note that the

relevant inquiry is the nature and function of the act, not the act

itself, and that the court would look to the particular act’s relation

to a general function normally performed by a judge--in this case, the

function of directing police officers to bring counsel in a pending

case before the court. Mireles at 11-12.

           Applying this standard to the present case, it is clear that

all of the rulings the Defendant made were in the performance of his

duty in   presiding over the Plaintiff’s divorce action. To hold

otherwise would make every alleged incorrect decision by a state trial

judge a federal constitutional violation.

           To   the   extent   the   Defendant   committed   any   error,   the

Plaintiff’s remedy was an appeal through the state court system and

a petition for certiorari to the United States Supreme Court, not a

1983 action in federal district court. The Defendant is entitled to

judicial immunity for all of the acts alleged as they were all taken

in his judicial capacity, even if the Plaintiff honestly believes that

the Defendant’s rulings were in error. See also, Johnson v. Turner,

125 F.3d 324, 333 (6th Cir. 1997).

     The Magistrate Judge considered the Plaintiff’s arguments that

a judge is not absolute immune, and again for the reasons stated

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above, the Magistrate Judge concludes that the Plaintiff’s argument

lacks merit. Everything the Defendant did was in a judicial capacity

in presiding over the Plaintiff’s divorce case. The fact that the

Plaintiff believes that the Defendant should have heard more arguments

and not ruled against him does not render a judge’s actions outside

his judicial authority.

           Every judge will be thought at times by one side or the

other to have committed errors in his rulings. Errors in rulings do

happen as magistrate judges are at times overruled by district judges,

district judges are overruled by the court of appeal, and the supreme

court overrules circuit courts. The Supreme Court may at times

overrule it’s own decisions. The fact that a decision may be wrong

does not constitute constitutional error.

               The Allegations Against Judge Thompson
              are Barred by the Statute of Limitations
               to the Extent that the Alleged Conduct
               Occurred More than One Year Before the
           Original Complaint was filed on October 3, 2016

           The Defendant has again correctly cited the law. The statute

of limitations for actions brought under Section 1983 are governed by

the statute of limitations governing actions for personal injuries in

Tennessee. See Berndt v. State of Tennessee, 796 F.2d 879, 883 (6th

Cir. 1986).

           Therefore, regardless of a decision on any of the other

defendants’ contentions, the actions complained of prior to one year

before October 3, 2016, would be barred by the statute of limitations.

           Although the Plaintiff alleges that he did not become aware

of the statute of limitations issue until after May 3, 2016, his


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argument misses the point. He was aware that he disagreed with the

Defendant’s decisions at the time they were made. The fact that he

only later concluded they were a constitutional violation, rather than

the rules of conduct, does not extend the statute of limitations.

Everything the Defendant did was in open court. The fact that the

Plaintiff did not draw a conclusion that it was a constitutional

violation for a lengthy period of time does not save his complaint

from the statute of limitations. To hold otherwise would destroy the

concept of statutes of limitations. There is nothing in the record to

suggest a valid reason to toll the statute of limitations. Even if the

Plaintiff did not hear clearly he had the ability to secure a

transcript or ask for a recording of the hearing. The plaintiff had

access to the facts and he did not act on them in a timely fashion.

                The Eleventh Amendment Bars any Claim
                for Relief against Judge Thompson in
                       his Official Capacity

           The Magistrate Judge agrees with the Defendant’s claim that

the   Eleventh Amendment bars suit against Judge Thompson in his

official capacity. 42 U.S.C. § 1983 applies to persons who act under

the color of law. State officials in their official capacities are not

persons for the purpose of Section 1983. Will v. Michigan Dept. of

State Police, 491 U.S. 58, 71 (1989).

           The Plaintiff argues that Congress can abrogate the Eleventh

Amendment without the state’s consent. That is an accurate statement.

Unfortunately for the Plaintiff’s argument the Supreme Court has not

held that Congress has abrogated the Eleventh Amendment with respect

to official capacity claims under Section 1983 claims such as he has



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alleged. The case the Plaintiff cites (Hutto v. Finney, 437 U.S. 678

(1978)) dealt with the award of attorneys’ fees to be paid out of the

Department      of   Corrections      funds.     The    case    involved    the   Eighth

Amendment      ban   on    inflicting    cruel    and    unusual     punishments      made

applicable to the state by the Fourteenth Amendment. The court found

that the defendants had violated prisoners’ constitutional rights

under the Eighth Amendment. The Supreme Court noted costs                            have

traditionally been awarded without regard to the state’s Eleventh

Amendment immunity going back to 1849.

               While in a concurring opinion one Justice questioned the

limitations of the Eleventh Amendment, it is not the holding of the

majority, and until the Supreme Court rules otherwise, claims against

the Defendant in his official capacity are barred by the Eleventh

Amendment.

                                   RECOMMENDATION

               For   the    reasons     stated    above,       the   Magistrate      Judge

recommends that all claims be dismissed with prejudice for lack of

jurisdiction. To the extent the court has jurisdiction the case should

be dismissed with prejudice due to judicial immunity and the other

reasons cite above.

               Under Rule 72(b) of the Federal Rules of Civil Procedure,

any party has 14 days from receipt of this Report and Recommendation

in     which   to    file    any   written      objection      to    this   report    and

recommendation with the District Court. Any party opposing said

objections shall have 14 days from receipt of any objections filed in

this report and recommendation in which to file any responses to said



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objections. Failure to file specific objections within 14 days of

receipt of this Report and Recommendation can constitute a waiver of

further appeal of this Report and Recommendation. Thomas v. Arn, 474

U.S. 140 106 S. Ct. 466, 88 L.Ed.2d 435 (1985), Reh’g denied, 474 U.S.

1111 (1986).

           ENTER this 28th day of December, 2016.

                                       /s/   Joe B. Brown
                                       JOE B. BROWN
                                       United States Magistrate Judge




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